
DUVAL, District Judge,
dissenting:
I respectfully dissent from the majority opinion, taking cognizance that the Courts are chary to interfere with the collection of taxes imposed under state law. This exercise in comity is further reinforced by the Tax Injunction Act which states:
The district courts shall not enjoin, suspend or restrain the assessment, levy or collection of any tax under state law where a plain, speedy &amp; efficient remedy may be had in the course of such state.
28 U.S.C. § 1341.
Here, the putative class members have challenged the constitutionality of a 30% penalty imposed on delinquent taxpayers during various tax years. They do not challenge the constitutionality of the assessment of the underlying ad valorem tax. On March 5, 1998, the City of New Orleans adopted City Ordinance No. 18637 MCS (hereinafter “the 1998 Ordinance”), which imposed a 30% penalty if the taxes remained unpaid as of April 1 of the tax year (i.e., three months after they were due). The 30% penalty was assessed “if the taxing unit has referred the collection of the delinquent taxes, penalty, and interest to an attorney or collection agent.” Significantly, the penalty applied retroactively. Section 150-46.3 of the Ordinance states:
“All delinquent taxes for prior years and taxes that remained delinquent on April 1 of year in which they become delinquent, incur an additional penalty to defray cost of collection if the taxing unit has referred the collection of the delin*446quent taxes, penalty and interest to an attorney or collection agent.”
In other words, the 1998 Ordinance retroactively applied to prior years. The statute does not specify how far back the 1998 Ordinance reaches. The majority agrees with the district court which concluded that the penalty could not be extricated from the tax itself. I respectfully suggest that the majority and the district court did not sufficiently probe the crucial question addressed by Home Builders and its progeny: “What is the purpose of the assessment and what is its ultimate use?” See Home Builders of Mississippi, Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998); Neinast v. State of Texas, 217 F.3d 275 (5th Cir.2000); Hexom v. Oregon Dept. of Trans., 177 F.3d 1134 (9th Cir.1999); Marcus v. Kansas, 170 F.3d 1305 (10th Cir.1999); Hager v. City of West Peoria, 84 F.3d 865, 870-71 (7th Cir.1996). The underlying ad valorem tax and the penalty are facially distinct and should not be considered identical unless the purpose of the penalty truly fits the classic “rubric of taxes.” The essential query posed by Home Builders and subsequent cases has been designated the “ultimate use test,” and requires the court to go beyond a cursory analysis. The “ultimate use test” requires the court to look at the penalty as a whole to determine if it is a tax.
In applying the “ultimate use test,” the court should focus on several factors which distinguish a tax from a fee. The classic fee is imposed:
(1) by an agency, not the legislature,
(2) upon those it regulates, not the community as a whole, and
(3) for the purpose of defraying regulatory costs.
Neinast, 217 F.3d at 278. One crucial factor in the analysis is whether the assessment defrays the cost of the program (a fee), or whether it provides a general benefit to the community (a tax). See Neinast, 217 F.3d 275, 278. This distinction is determined by examining whether or not the funds go directly to the narrow purpose for which they were exacted, as opposed to some other general purpose. Id. In Neinast, this court considered whether the Tax Injunction Act prevented the plaintiffs from challenging a Texas statute that charged a $5.00 fee for handicapped placards. According to the statute, the funds raised from the $5.00 fee were deposited in the state highway fund “to defray the cost of providing the disabled parking placard.”
Texas argued that because the funds went into a “general fund,” this was of general benefit to the community and did not solely accomplish the purpose of defraying the cost of the program. Additionally, Texas argued that the charge was a tax because the monies went to the tax collector first and then the highway fund. The court disagreed and held that the assessment was a fee. The court characterized the stated purpose of the statute as “narrow” and “for the benefit of the program [of providing placards] itself’ instead of being directed toward a broad benefit to the improvement of highways. Id. at 278. The court distinguished the Texas placard fee from Home Builders, in which case a municipality imposed an impact fee on developers and builders to pay “a fair share of providing and maintaining ... essential municipal services.” Home Builders, 143 F.3d at 1012. The Home Builders court considered this charge a tax because the collected funds were, in fact, used for a variety of municipal services, including streets, fire and police departments, parks, and recreation. Id. See Hager, 84 F.3d 865, 870. In the case at bar, evidence should have been taken at the preliminary injunction hearing to determine whether the 1998 Ordinance should be character*447ized as a fee. Furthermore, the ordinance is not an ad valorem tax as all ad valorem taxes under the Louisiana Constitution must be approved by a vote of the people. See La. Const. Art. VI, § 26. It does not appear that the 30% penalty was ever approved by a vote of the people and therefore is certainly not an ad valorem tax.
Moreover, the ordinance is more akin to a fee because exacts a regulatory function: it is imposed on the discrete group of people that it regulates. The district judge concluded that since ad valorem taxes are imposed on all property owners, this factor tended to show that the penalty was a tax because property owners are not a discrete group. However, this conclusion is not entirely correct. The penalty is applied to a narrower group of people than “all property owners.” The penalty applies only to those property owners who are delinquent in paying their property taxes, not to all property owners. Consequently, this factor tends to support the classification of the penalty as a fee because a fee is “imposed upon those it regulates, not the community as a whole.” Neinast, 217 F.3d at 278.
Additionally, as to the “ultimate use test,” the penalty’s purpose, as gleaned from the preamble and the circumstances underlying its imposition fits the paradigm of a fee, rather than a tax. The preamble states that the 1998 ordinance is:
AN ORDINANCE to provide interest and increased penalties on delinquent ad valorem taxes and for the payment of costs and attorneys’ fees in connection with the collection of such taxes: WHEREAS, the City of New Orleans incurs significant delinquencies in the collection of ad valorem tax revenues due to (i) lack of penalties to encourage prompt compliance by the taxpayers with the tax laws and (ii) lack of provision for collection fees, attorneys fees, costs and expenses; and attorneys’ fees and costs to cover the costs of collection; and
WHERE AS, the city will be able to increase revenues from ad valorem taxes through the imposition of interest and penalties and in imposing collection fees, attorney fees, costs and expenses on the taxpayer....
(Emphasis added).
As the first clause of the preamble illustrates, the purpose of the 1998 Ordinance is two-fold: “to provide a mechanism that will finance the collection of delinquent taxes and to penalize delinquent taxpayers.” Both of the stated purposes in the first clause address the City Council’s regulatory functions of controlling the behavior of delinquent taxpayers and defraying the costs of collection.
The second clause is also regulatory because it attempts to control the behavior of delinquent taxpayers and more significantly, the purposes of the fee is to “defray costs” which was also emphasized by the majority. An assessment which “defrays costs” has historically been regarded as a fee rather than a tax. See Neinast, 217 F.3d 275, at 278. At oral argument, it was conceded that until recently, the penalty collected went into a lock box and then paid directly to the defendant law firm. It should be kept in mind that the traditional way of collecting delinquent ad valorem taxes in Louisiana is that the property is sold for the amount of taxes and penalties and then can be redeemed by the taxpayer within a specified period of time by paying all delinquent taxes, penalties and costs. Moreover, the liability is in rem and not personal to the property owner. The 30% penalty has produced millions of dollars in attorneys’ fees, was not voted on by the citizens of Orleans Parish, and is not an ad valorem tax. Therefore, it appears that *448the “ultimate use” of these funds was specifically to pay attorneys and to defray costs and was certainly not part of the general revenue of the taxpaying entity.
Finally, there is a substantial question as to whether there is, in fact, a “plain, speedy and efficient” remedy available in state court. The taxpayers, especially those to whom the retroactive aspect of the penalty applies, have a remedy that is, at best, illusory. In order to protest a tax, one must pay the tax under protest. LA. Rev.Stat. § 47:2110. The courts have held that this protest must be timely. See Affordable Housing Developers, Inc. v. Kahn, 785 So.2d 251, 2000-CA-0614, 2000-CA-0612, (La.App.4 Cir.2001). Under the statute, it would have been impossible for some taxpayers to timely pay the penalty under protest since it was retroactively imposed.
Therefore, at the very least, there should have been an evidentiary hearing concerning the purpose and use of the funds derived from the penalty as well as the efficacy of an available “plain, speedy, efficient remedy” in the state courts.
Certainly, the federal courts should use great restraint in interfering with the collection of state taxes; however, this is a very unusual retroactive penalty which appears to be a fee in the clothing of a tax. Taxpayers should not be deprived of their right to a federal forum in circumstances where a potentially unconstitutional fee (not a tax) has been imposed upon them.
